        Case
        Case 2:12-cr-00004-APG-EJY
             2:12-cr-00004-APG-GWF Document
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 6                               UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                  Plaintiff,                        )
                                                      )
10          v.                                        ) 2:12-CR-0004-APG-(GWF)
                                                      )
11 JERMAINE SMITH,                                    )
                                                      )
12                  Defendant.                        )
13                                                ORDER
14          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States of

15 America’s interests and rights expired in: any and all assets held by Columbian Mutual Life

16 Insurance Company, Asset Number 6155072, in the name of Jermaine A. Smith (“property”), listed

17 in the Substitution and Forfeiture Order (ECF No. 1028).

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the above-named

19 property will not revert back to the defendant and/or any person(s) acting in concert with him and/or

20 on his behalf.

21           Dated: October 27, 2015.
                                                        __________________________________
                                                        _____
                                                           ______________________
22                                                      UNITED
                                                        UNNITED STATES DISTRICT JUDGE
23                                                      DATED: __________________________
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